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WESTERN DISTRICT oF TENNESSEE 85 a .,i\
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CHARLENE SPINKS, W.o. o:"-' rr-:., r,~ia:-.,»-zr>!-Hé

Plaintiff,
vs. Ne. 03-2568-t)/P

HOME TECH SERVICES, CO. INC., et al.,

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.’ S
MOTION FOR LEAVE TO FILE SUPPLEMENTAL MEMORANDUM

 

This matter came before the Court upon the Motion of Defendant, NovaStar Mortgage,
lnc. (“NovaStar”), for leave to file a Supplemental Mernorandurn in support of its Motion for
Discovery Sanctions or in the Alternative to Compel Discovery.

Upon due consideration of this matter, it appears that NovaStar’S Motion should be
granted

IT IS THEREFORE, ORDERED, ADJUDGED, AND DECREED that the Motion of
NovaStar Mortgage, Inc., for leave to tile a Supplemental Memorandum, is Granted. Exhibit 1
to the Motion is hereby accepted as tiled.

UQQW\

UNITED STATES MAGISTRATE JUDGE

DATE: 5[/1( */OF_

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This notice confirms a copy of the document docketed as number 284 in
case 2:03-CV-02568 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

